      Case 1:16-cv-00014-MW-GRJ Document 44 Filed 09/09/16 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNIVERSITY OF FLORIDA
RESEARCH FOUNDATION INC

      VS                                           CASE NO. 1:16-cv-00014-MW-GRJ

KONINKLIJKE PHILIPS NV, PHILIPS
ELECTRONICS NORTH AMERICA
CORPORATION

                                      JUDGMENT

      Plaintiff's claims against Defendant are dismissed with prejudice. The parties

shall bear their own attorney's fees and costs.

                                         JESSICA J. LYUBLANOVITS
                                         CLERK OF COURT

                                         s/JUDITH STONE
September 9, 2016
DATE                                     Deputy Clerk: Judith Stone
